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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


IN RE: NATIONAL PRESCRIPTION                   )       CASE NO. 1:17-MD-2804
OPIATE LITIGATION                              )
                                               )       David R. Cohen
THIS DOCUMENT RELATES TO:                      )       Randi S. Ellis
“All Cases”                                    )       Hon. David R. Herndon
                                               )
                                               )       FEE PANEL ORDER NO. 10
                                               )       REGARDING NEW
                                               )       FEE APPLICATION
                                               )       DEADLINES
                                               )

       Pursuant to agreement by the PEC, the Big Three Distributors, Janssen, and the Fee Panel,

the deadline for fee applications is hereby extended to September 30, 2022. This extension applies

to all fee applications and all eligible attorneys. Fee application deadlines set out in prior Fee Panel

Orders are hereby superseded.

       Among other reasons, this extension is intended to facilitate reaching “Participation Tier 4”

in the Big Three Settlement Agreement.

               IT IS SO ORDERED.

                                                       /s/     David R. Cohen
                                                               Randi S. Ellis
                                                               David R. Herndon
                                                               FEE PANEL
Dated: August 25, 2022
